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                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
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                 7    ANTHONY THOMAS,                                      Case No. 2:19-CV-292 JCM (BNW)
                 8                                         Plaintiff(s),                     ORDER
                 9           v.
               10     COMBE INCORPORATED, et al.,
               11                                        Defendant(s).
               12
               13            Presently before the court is the matter of Thomas v. Combe Inc., case number 2:19-cv-
               14     00292-JCM-BNW.
               15            Having informed the parties that this matter would be dismissed unless either party filed a
               16     written objection by 5:00 pm on Thursday, November 14, 2019, (ECF No. 30), this court hereby
               17     dismisses this matter. Over a year has passed since any meaningful activity from the parties.
               18            Accordingly,
               19            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiff’s claims be, and
               20     the same hereby are, DISMISSED.
               21            The clerk is ordered to close the case accordingly.
               22            DATED October 2, 2020.
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               24                                                  UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
